Filed 06/02/16                                                      Case 09-90452                                                Doc 294
     FORM L51 Final Decree (v.9.14)                                                                                  09−90452 − E − 7

                   UNITED STATES BANKRUPTCY COURT
                        Eastern District of California
                                            1200 I Street, Suite 4
                                            Modesto, CA 95354

                                               (209) 521−5160
                                            www.caeb.uscourts.gov
                                            M−F 9:00 AM − 4:00 PM



                                                                FINAL DECREE

     Case Number:             09−90452 − E − 7
     Debtor Name(s), Social Security Number(s), and Address(es):


         DeLiddo and Associates, Inc.
         77−0444949
         PO Box 187
         Salida, CA 95368

     OTHER NAMES USED WITHIN 8 YEARS BEFORE FILING THE PETITION:
         DEERS




     Trustee:                           Stephen C. Ferlmann
                                       4120 Dale Rd., Ste J−8 #184
                                       Modesto, CA 95356

     Telephone Number:                 209−236−1441


     Office of the United States Trustee:

         For cases in the Sacramento Division and Modesto Division: 501 I Street, Room 7−500, Sacramento, CA 95814
         For cases in the Fresno Division: 2500 Tulare Street, Suite 1401, Fresno, CA 93721


          It appearing to the court that the Trustee in the above−entitled case has completed administration of this estate,

         IT IS ORDERED that the estate is hereby closed, that the trustee is hereby discharged, and that the trustee's bond is
         hereby released from further liability, except any liability which may have accrued during the time such bond was in
         effect for the estate of this case.


     Dated:                                                              For the Court,
     6/2/16                                                              Wayne Blackwelder , Clerk
